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14                       IN THE UNITED STATES DISTRICT COURT
15                           FOR THE DISTRICT OF ARIZONA

16
     A.P.F. on his own behalf and on behalf of         No. CV-20-00065-PHX-SRB
17   his minor child, O.B.; J.V.S., on his own
     behalf and on behalf of his minor child        MOTION AND MEMORANDUM IN
18   H.Y.; J.D.G. on his own behalf and on         SUPPORT OF THE UNITED STATES
     behalf of his minor child, M.G.; H.P.M. on       OF AMERICA’S MOTION TO
19   his own behalf and on behalf of his minor     COMPEL THE ADULT PLAINTIFFS
     child, A.D.; M.C.L. on his own behalf and          TO SUBMIT TO RULE 35
20   on behalf of his minor child, A.J.; and       PSYCHOLOGICAL EXAMINATIONS
     R.Z.G. on his own half and on behalf of his   AND SECOND MOTION TO EXTEND
21   minor child, B.P.,                             EXPERT DISCOVERY DEADLINES
22                Plaintiffs,
23         v.
24   United States of America,
25                 Defendant.
26
27
28
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 1          Pursuant to Federal Rule of Civil Procedure 35(a), Defendant United States of

 2   America hereby moves this Court for an order (1) compelling Plaintiffs A.P.F., J.V.S.,
 3
     J.D.G., H.P.M., M.C.L., and R.Z.G. (collectively, the “Adult Plaintiffs”) to each attend a
 4
     psychological examination to be conducted by Dr. Ricardo Winkel, Ph.D., at a date, time,
 5
 6   and location that is agreeable to all interested parties; and (2) extending Defendant’s time

 7   in which to serve its expert disclosures, which are presently due September 23, 2022, to 60
 8
     days after this court decides this motion, and to similarly extend the remaining expert
 9
     disclosure deadlines accordingly.
10
11          This motion is supported by the below memorandum of points and authorities and

12   the exhibits submitted herewith.
13
               CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 7.2(j)
14
            Pursuant to Rule 7.2(j) of the Local Rules of Civil Procedure, counsel for the
15
16   United States certifies that the parties personally conferred regarding this matter and that

17   Plaintiffs oppose each of these requests.
18
                                         INTRODUCTION
19
            In this action seeking damages for intentional infliction of emotional distress,
20
21   negligence, and loss of consortium, Plaintiffs allege that they have sustained severe,

22   ongoing, and permanent mental and emotional injuries and lasting damage to the parent-
23
     child relationship resulting from the separation of parents and children at the United
24
     States-Mexico border in 2017 or 2018. Plaintiffs intend to support their claims of injury
25
26   through expert testimony and have each submitted to multiple mental health evaluations

27   by their own experts. It is standard practice for plaintiffs alleging severe emotional injury
28
                                                   2
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 1   to be examined by the opposing party’s expert; indeed, in a similar family-separation case

 2   pending in the Southern District of Florida, the adult plaintiff consented to an examination
 3
     by the United States’ expert under the same terms that the United States proposes here.
 4
     Nevertheless, Plaintiffs will not agree to submit to evaluations by the United States’
 5
 6   experts under any circumstances. The United States hereby moves for an order

 7   compelling each Adult Plaintiff in this action to submit to a Rule 35 examination by its
 8
     retained expert, Dr. Ricardo Winkel, Ph.D., a licensed psychologist in the State of
 9
     California. See Exhibit 1.
10
11          If permitted by the Court, Dr. Winkel would perform non-invasive psychological

12   examinations of the Adult Plaintiffs, each exam consisting of a clinical interview portion
13
     and a standardized testing portion. These examinations—to occur at dates, times, and
14
     locations that are mutually convenient for the parties—would permit Dr. Winkel to
15
16   develop findings on each Adult Plaintiff’s current psychological condition and prognosis,

17   as well as on the cause or causes of each Adult Plaintiff’s presentation, all of which are
18
     central issues in this litigation and matters on which Plaintiffs themselves intend to
19
     introduce expert testimony. Thus, good cause exists to order the examinations. Fed. R.
20
21   Civ. P. 35(a)(2)(A).

22          The United States also seeks a 60-day extension of its deadline to serve expert
23
     psychological reports to allow the Court to decide this contested issue and, if the matter is
24
     resolved in the United States’ favor, to allow sufficient time for Dr. Winkel to conduct the
25
26   examinations of the six Adult Plaintiffs and to prepare his reports.1 In the alternative, if

27
     1
      The United States is not seeking Rule 35 examinations of Plaintiffs O.B., H.Y., M.G.,
28   A.D., A.J., and B.P. (collectively, the “Minor Plaintiffs”) at this time. However, the
                                                  3
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 1   the Court declines to order the examinations, the United States seeks an extension of 30

 2   days to allow sufficient time for Dr. Winkel and the government’s child and adolescent
 3
     psychology expert, Dr. Andrew Wenger, Ph.D., to complete their reports in light of the
 4
     fact that they will not have access to the Plaintiffs in forming their opinions. As described
 5
 6   below, there is good cause for this extension motion given the negotiations between the

 7   parties and the government’s recent receipt of the raw data underlying Plaintiffs’ experts’
 8
     reports.
 9
                                             ARGUMENT
10
11      A. Each Adult Plaintiff Has Placed His Psychological Condition in Controversy
           and Good Cause Exists for the Rule 35 Examinations
12
            Under Federal Rule of Civil Procedure 35(a), the Court may order a party to
13
14   “submit to a physical or mental examination by a suitably licensed or certified examiner”

15   where a party’s mental or physical condition is “in controversy,” upon motion and a
16
     showing of “good cause.” Fed. R. Civ. P. 35(a). Where, as here, a plaintiff claims an
17
     ongoing mental injury, the factors reviewed in determining “good cause” often merge with
18
19   those requirements necessary to find that the plaintiff’s mental condition is “in

20   controversy.” Lahr v. Fulbright & Jaworski, L.L.P., 164 F.R.D. 196, 200 (N.D. Tex.
21
     1995) (citing Duncan v. Upjohn Co., 155 F.R.D. 23, 25 (D. Conn. 1994)). As the Supreme
22
     Court of the United States has held, “[a] plaintiff in a negligence action who asserts mental
23
24
     United States includes in this request an extension of its deadline to serve psychological
25   expert reports related to the Minor Plaintiffs, so that it may have the benefit of the results
     of the Rule 35 examinations of the Adult Plaintiffs, if ordered by the Court, before
26   determining whether to proceed with seeking contested examinations of the Minor
     Plaintiffs. If the United States decides that it is necessary to seek the exams of the Minor
27   Plaintiffs, the United States will make every effort to continue to meet and confer with
     Plaintiffs to resolve the issue without court intervention and will endeavor to file any
28   motion expeditiously.
                                                    4
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 1   or physical injury . . . places that mental or physical injury clearly in controversy and

 2   provides the defendant with good cause for an examination to determine the existence and
 3
     extent of such asserted injury.” Schlagenhauf v. Holder, 379 U.S. 104, 119 (1964).
 4
            In this case, each Adult Plaintiff has squarely placed his mental condition and
 5
 6   prognosis, as well as the cause or causes of his current psychological presentation, “in

 7   controversy.” All of the Plaintiffs assert claims against the United States for intentional
 8
     infliction of emotional distress (“IIED”). See First Amended Complaint (“Compl.”)
 9
     ¶¶ 527-535 (ECF No. 34). In Arizona, an IIED claim requires, among other elements, a
10
11   showing that the plaintiff suffered “severe emotional distress,” Gasho v. United States, 39

12   F.3d 1420, 1432 (9th Cir. 1994) (citing Ford v. Revlon, Inc., 153 Ariz. 38 (1987)), and
13
     here each Adult Plaintiff has alleged mental and/or emotional injuries that he contends rise
14
     to this level. See, e.g., Compl., ¶ 24 (alleging that Adult Plaintiffs each suffered emotional
15
16   trauma and continue to experience associated ongoing physical, mental, and emotional

17   symptoms).2
18
            Plaintiffs allege that their mental and emotional injuries are ongoing and permanent
19
     in nature, and that they are causally related to the allegedly tortious government conduct.
20
21   See, e.g., Compl., ¶¶ 21-22, 24, 26 (identifying claimed injuries stemming from separation,

22   including ongoing and permanent mental and emotional harm and “increased risk of
23
     developing additional mental health disorders” in the future); ¶¶ 529-534 (alleging that
24
25
26   2
       Beyond the allegations in these two paragraphs, each Adult Plaintiff also makes more
     detailed allegations of enduring emotional, mental, and physical injuries which he
27   attributes to distress from the separation. See Compl., ¶¶ 178-179 (A.P.F.); ¶¶ 257-264
     (J.V.S.); ¶¶ 306-307 (J.D.G.); ¶¶ 366-368 (H.P.M.); ¶¶ 411-412 (M.C.L.); ¶¶ 472-473
28   (R.Z.G.).
                                                   5
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 1   government’s alleged conduct directly and proximately caused Plaintiffs to suffer severe

 2   emotional distress and to “continue to suffer the lasting effects of that distress today”).
 3
            The foregoing allegations alone sufficiently demonstrate that each Adult Plaintiff
 4
     has placed his mental state “in controversy” for purposes of Rule 35 and that an
 5
 6   examination of each Adult Plaintiff is warranted. Numerous cases from this District and

 7   within the Ninth Circuit confirm that Rule 35 examinations are appropriate when a
 8
     plaintiff alleges emotional distress, as in an IIED action. See Alvarado v. Northwest Fire
 9
     Dist., 2020 U.S. Dist. LEXIS 79584, *7-8 (D. Ariz. May 5, 2020) (claim of emotional
10
11   distress, accompanied by, inter alia, a cause of action for IIED, an allegation of a specific

12   mental or psychiatric injury or disorder, or a claim of unusually severe emotional distress,
13
     is sufficient to support Rule 35 examination) (quoting Turner v. Imperial Stores, 161
14
     F.R.D. 89, 95 (S.D. Cal. 1995)); Ragge v. MCA/Universal, 165 F.R.D. 605, 609 (C.D. Cal.
15
16   1995) (plaintiff’s allegation in complaint that emotional distress is ongoing is sufficient to

17   establish good cause to compel a Rule 35 mental examination).
18
            Beyond the allegations in the complaint, Plaintiffs’ recent expert disclosures
19
     demonstrate Plaintiffs’ intention to offer expert testimony from numerous mental health
20
21   professionals—licensed psychologists and social workers—in support of their claims. On

22   August 25, 2022, Plaintiffs served a total of 13 expert reports3 upon the United States that
23
     reveal that each Adult Plaintiff (and each Minor Plaintiff as well) has undergone at least
24
     two mental health evaluations by one of Plaintiffs’ retained experts. Collectively,
25
26
     3
       Twelve of these reports—each relating to the mental health evaluations conducted of
27   each of the 12 Plaintiffs—actually consist of two separate reports: one report from an
     initial evaluation, and a second report from a follow-up evaluation. The thirteenth report
28   is from a psychologist who did not evaluate any of the Plaintiffs.
                                                   6
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 1   Plaintiffs’ experts opine that each Adult Plaintiff suffered emotional trauma as a direct

 2   result of the separation from his child at the border and that his symptoms of emotional
 3
     distress are ongoing.
 4
            Although not necessary to a finding of good cause under Rule 35, Plaintiffs’
 5
 6   intended use of expert testimony to support their emotional distress claims further

 7   underscores the existence of good cause here. Courts in this district and circuit have
 8
     repeatedly granted motions for Rule 35 examinations where the opposing party designated
 9
     experts who testified about their mental condition. See Alvarado, 2020 U.S. Dist. LEXIS
10
11   79584, *7-8 (noting that one factor courts look to in deciding a Rule 35 motion is the

12   plaintiff’s offer of expert testimony to support the plaintiff’s emotional distress claim)
13
     (quoting Turner, 161 F.R.D. at 95); see also Lahr, 164 F.R.D. at 200; Halliday v. Spjute,
14
     2015 U.S. Dist. LEXIS 85211, *5 (E.D. Cal. Jun. 30, 2015) (“[G]ood cause for the
15
16   psychological examinations exists because Plaintiffs have designated experts who can

17   testify to their mental condition.”).
18
             Indeed, courts have recognized that one of the purposes of Rule 35 is to “preserve
19
     the equal footing of the parties” to evaluate a plaintiff who has a secured an expert opinion
20
21   on his physical or mental condition. See Ragge, 165 F.R.D. at 608. “A defendant should

22   have a balanced opportunity to assess the plaintiff's allegations and proof concerning
23
     emotional distress damages, and a plaintiff's chosen expert should not be the only expert
24
     who ever actually examined the plaintiff'.” Halliday, 2015 U.S. Dist. LEXIS 85211, *5
25
26   (internal quotation marks, alterations, and citation omitted).

27
28
                                                   7
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 1          Finally, courts have rejected the argument that a party should forgo Rule 35

 2   examinations because the opposing party has conducted the relevant examinations, or
 3
     because depositions of Plaintiffs or their experts are available as an alternative. “The
 4
     purpose of the retained expert is to advocate within reasonable grounds on behalf of the
 5
 6   person for whom retained,” Perona v. Time Warner Cable Inc., 2016 U.S. Dist. LEXIS

 7   202950, **13-14 (C.D. Cal. May 5, 2016). Accordingly, courts have permitted Rule 35
 8
     examinations even in instances where “sufficient documentation of plaintiff’s medical
 9
     condition is accessible to defendant” through a plaintiff’s expert report. Id. Similarly,
10
11   courts have permitted examinations even when “defendant has already deposed plaintiff,”

12   because a deposition cannot “contain a thorough assessment of [plaintiff’s] current
13
     emotional and medical condition.” Doe v. District of Columbia, 229 F.R.D. 24, 27
14
     (D.D.C. 2005); see Vangieson v. Austin, 2021 WL 3908618, *6 (S.D. Cal. Aug. 16, 2021)
15
16   (“Plaintiff's mental condition has also been documented in medical records and through

17   deposition testimony of Plaintiff and his wife, but this does not preclude a Rule 35
18
     exam.”).4
19
            In sum, Rule 35 is to be construed liberally in favor of allowing examinations,
20
21   Clark v. City of Tucson, 2009 U.S. Dist. LEXIS 135505, *3 (D. Ariz. Jul. 13, 2009)

22   (citations omitted); see also Silva v. Mercado Food Enter., 2012 U.S. Dist. LEXIS 6463,
23
     **17-18 (E.D. Cal.) (citing Schlangenhauf, 379 U.S. at 114-15), and such examinations
24
25
     4
       In this case, in light of Plaintiffs’ objections, the United States chose to review Plaintiffs’
26   reports first to consider whether it would have the United States’ experts conduct their
     own examinations. The United States is filing this motion because it has confirmed, after
27   consulting with its adult psychology expert, that taking this step was necessary, for the
     reasons stated above, and because Plaintiffs have refused to consent to such examinations
28   under any circumstances.
                                                      8
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 1   are clearly warranted here for the reasons set forth above. Each Adult Plaintiff’s mental

 2   condition is squarely “in controversy”—and indeed is central to each Adult Plaintiff’s
 3
     damages claim—and good cause exists to permit a psychological examination of each
 4
     Adult Plaintiff to assess the cause, nature, and prognosis of his claimed mental health-
 5
 6   related injuries.

 7      B. Dr. Winkel Is an Appropriate Expert to Examine the Adult Plaintiffs
 8
              A defendant seeking a Rule 35 examination of a plaintiff generally has the right to
 9
     choose its own examiner, and courts will appoint a different examiner only if a plaintiff
10
11   “raises a valid objection.” Newman v. San Joaquin Delta Cmty. College Dist., 272 F.R.D.

12   505, 511 (E.D. Cal. 2011) (citing Ragge, 165 F.R.D. at 609). The United States proposes
13
     that Dr. Winkel conduct the examinations of the Adult Plaintiffs.
14
              Dr. Winkel is a licensed psychologist in the State of California, see Exhibit 1, with
15
16   more than 30 years of experience practicing clinical and forensic psychology, and has

17   native fluency in Spanish. See Exhibit 2 (Declaration of Ricardo Winkel, Ph.D. (“Winkel
18
     Decl.”)), ¶¶ 1-3; see also generally Exhibit 3 (Curriculum Vitae of Ricardo Winkel,
19
     Ph.D.). Dr. Winkel has conducted more than a thousand psychological examinations
20
21   during his career, including at least four hundred in Spanish. Exhibit 2 (Winkel Decl.),

22   ¶ 5.
23
              Counsel for the United States provided Plaintiffs’ counsel with Dr. Winkel’s
24
     curriculum vitae on July 1, 2022, and Plaintiffs’ counsel has not advised the United States
25
26   that its objections to the exams relate to the United States’ choice of expert, nor have they

27   raised any objection to his qualifications to conduct the examinations. Any such objection
28
                                                    9
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 1   would be meritless, because Dr. Winkel is amply qualified through his licensure,

 2   education, training, and decades of experience to conduct the examinations of the Adult
 3
     Plaintiffs. See Newman, 272 F.R.D. at 511 (whether someone is “suitably licensed or
 4
     certified” to conduct a Rule 35 examination is a function of whether he or she has the
 5
 6   requisite level of expertise to conduct the proposed exam) (citing Fed. R. Civ. P. 35(a)

 7   Advisory Committee Note (1991 amend.)).
 8
        C. The Proposed Parameters of the Proposed Examinations are Reasonable
 9
            Plaintiffs have objected to the United States conducting any examinations under
10
11   Rule 35, on the basis that they do not believe good cause exists for the examinations, and

12   they have declined the United States’ efforts to explore whether the parties could reach an
13
     agreement on the parameters of any examinations.
14
            1. Location and Date of Examination
15
            The United States agrees to conduct each examination in the preferred geographic
16
17   location of the Plaintiff to be examined, wherever possible, and on a date and time that is
18   mutually agreeable to the examinee and examiner. Counsel for the United States
19
     previously asked Plaintiffs’ counsel to provide each Plaintiff’s dates of availability and
20
     preferred city and state for the examination. But, in light of Plaintiffs’ continuing
21
22   objection to any examinations, the United States has not received a response to those

23   particular requests. If and when Plaintiffs provide this information, counsel for the United
24
     States would work with Dr. Winkel to confirm that there are no professional licensing-
25
     based obstacles to proceeding with the examination in the preferred state—such as
26
27   extensive backlogs in obtaining necessary temporary licenses—and would work with

28
                                                  10
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 1   Plaintiffs’ counsel to determine a mutually acceptable venue, date, and time for the

 2   examination.
 3
            In the event that an examination in a Plaintiff’s preferred state cannot be
 4
     accommodated due to licensing requirements, the United States would work with Plaintiffs
 5
 6   to arrange for the examination in the nearest geographical location where the examiner

 7   may conduct the examination consistent with state licensure requirements. This proposal,
 8
     which seeks to accommodate each Adult Plaintiff to the greatest extent possible—and
 9
     largely at the expense of the United States—is reasonable, particularly in light of case law
10
11   suggesting that usually, a plaintiff must pay for travel to the forum in which she or he has

12   chosen to bring suit. See Anderson v. Ariz. PRN LLC, 2016 U.S. Dist. LEXIS 13591, *6
13
     (D. Ariz. Feb. 4, 2016) (citing McCloskey v. UPS Gen. Servs. Co., 17 F.R.D. 268, 270 (D.
14
     Or. 1997)).
15
16          2. Substance and Duration of Examination

17          Dr. Winkel would perform psychological examinations of the Adult Plaintiffs.
18
     These examinations would not exceed eight hours in total duration, including breaks, and
19
     would consist of approximately four hours of a clinical interview and four hours of testing.
20
21   Exhibit 2 (Winkel Decl.), ¶ 8. The testing portion would consist of the administration of

22   the following: (1) a personality and emotional functioning test, which generally takes
23
     between one to two hours to complete; (2) a trauma-specific test, which generally takes
24
     between thirty minutes to one hour to complete; and (3) a free-standing symptom validity
25
26   test, which takes approximately 45 minutes to complete. Id., ¶ 9.

27
28
                                                  11
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 1          Accordingly, the proposed examinations, in nature and duration, are well within the

 2   bounds of what courts have determined to be appropriate. See Simpson v. Univ. of
 3
     Colorado, 220 F.R.D. 354, 364 (D. Colo. 2004) (Rule 35 examination may include
 4
     recognized and appropriate psychological testing); Newman v. San Joaquin Delta
 5
 6   Community College Dist., 272 F.R.D. 505, 513 (E.D. Cal. 2011) (10-hour mental exam, to

 7   be held over two days in five-hour sessions, was reasonable); Halliday v. Spjute, 2015
 8
     U.S. Dist. LEXIS 85211, **7-8 (E.D. Cal. Jun. 30, 2015) (ordering eight-hour
 9
     psychological exam, held over two day period in four-hour sessions).
10
11          Indeed, in a similar family-separation case pending in the Southern District of

12   Florida, R.Y.M.R. v. United States, 1:20-cv-23598, the United States was permitted to
13
     conduct Rule 35 examinations of both the adult and the minor child plaintiff. In that case,
14
     Plaintiffs’ counsel agreed to a Rule 35 examination (of eight hours’ duration) of the adult
15
16   plaintiff, and did not oppose a Rule 35 examination of the child plaintiff. Although the

17   parties could not completely agree on the parameters of the minor’s examination, the court
18
     authorized the examination under certain terms. Here, the United States proposed the
19
     same parameters for both the adult and minor examinations, but Plaintiffs rejected the
20
21   proposal, even with respect to the Adult Plaintiffs.

22          Finally, with respect to the language in which the examinations will be conducted,
23
     Dr. Winkel is fully fluent in Spanish and English, has ample experience conducting
24
     psychological examinations in Spanish and English, and would conduct the examination in
25
26   whichever of these languages the examinee prefers. Exhibit 2 (Winkel Decl.), ¶¶ 3,5,11.

27
28
                                                  12
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 1   To the extent that a Plaintiff cannot fully communicate in either Spanish or English, the

 2   examination would proceed through a translator. Exhibit 2 (Winkel Decl.), ¶ 11.
 3
        D. Regardless of the Court’s Decision on the Rule 35 Issue, Good Cause Exists to
 4         Extend the Current Deadline for the United States to Provide its Expert
 5         Disclosures

 6          Pursuant to Rule 26(a)(2)(A)-(C) of the Federal Rules of Civil Procedure, the
 7   United States respectfully requests that the Court extend its expert-disclosure deadline to
 8
     60 days after it decides this motion, if the Court orders the requested Rule 35
 9
10   examinations, or, if the Court denies the government’s request for any Rule 35

11   examinations, to 30 days after such denial. Plaintiffs oppose these requests.
12          Federal Rule of Civil Procedure 16(b)(4) provides that a scheduling order may be
13
     modified upon a showing of good cause. Fed. R. Civ. P. 16(b)(4). Defendant submits that
14
     good cause exists to extend the current deadline for the United States to provide its expert
15
16   disclosures, for three reasons. First, an extension would facilitate the examinations
17   requested above, if the Court grants permission for them to proceed. Second, even if those
18
     examinations are denied, an extension would be appropriate given Plaintiffs’ recent
19
     disclosure, just seven days ago, of a large amount of underlying facts and data considered
20
21   by Plaintiffs’ experts in forming their opinions that Defendant’s experts must consider
22   prior to completing their reports. Third, the United States made good-faith efforts to reach
23
     an accommodation with Plaintiffs’ counsel regarding examinations by Defendant’s
24
     expert—including by proposing the same parameters adopted by the R.Y.M.R. court, as
25
26   mentioned above—and those meet-and-confer discussions continued until just two days
27
28
                                                 13
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 1   ago, when Plaintiffs advised that there were no conditions under which they would agree

 2   to Rule 35 exams by Defendant’s experts.
 3
            This is the United States’ second request for an extension of its September 23, 2022
 4
     expert disclosures deadline and all remaining expert discovery deadlines. On August 12,
 5
 6   2022, before Plaintiffs had served their expert disclosures, the United States sought a 60-

 7   day extension. See Defendant’s First Motion to Extend Certain Discovery Deadlines and
 8
     Dispositive Motion Deadlines, dated August 12, 2022 (ECF No. 271). As explained in
 9
     Defendant’s August 12 motion, the purpose of that extension request was to enable the
10
11   United States to review Plaintiffs’ mental health experts’ reports before determining

12   whether to seek psychological examinations of any or all Plaintiffs by the United States’
13
     psychology experts under Federal Rule of Civil Procure 35—and to thereby potentially
14
     avoid contested motions practice concerning Rule 35 examinations or at least narrow the
15
16   issues in dispute—or, if motions practice could not be avoided, to allow sufficient time for

17   the United States to obtain a decision on any Rule 35 motions, for any examinations to
18
     take place, and for the government’s experts to prepare their reports. See id. Plaintiffs
19
     opposed Defendant’s August 12 motion on the grounds that it was premature, see
20
21   Opposition, dated August 16, 2022 (ECF No. 276). The Court agreed with Plaintiffs and

22   denied the motion as premature. See Order, dated August 18, 2022 (ECF No. 279).
23
            Subsequently, on August 25, 2022, Plaintiffs produced a total of 13 expert reports,
24
     12 of which are reports by mental health professionals who conducted initial and follow-
25
26   up mental health evaluations of Plaintiffs. Plaintiffs’ expert disclosures reveal that each

27   Plaintiff intends to support his or her claims with expert testimony—from a mental health
28
                                                  14
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 1   professional who conducted an individualized examination of the Plaintiff—regarding the

 2   Plaintiff’s mental and emotional health and prognosis and the causes of the Plaintiff’s
 3
     presentation. Upon receiving and reviewing Plaintiffs’ expert disclosures, the United
 4
     States resumed a dialogue with Plaintiffs regarding Rule 35 examinations of Plaintiffs by
 5
 6   the government’s expert psychologists. Specifically, in an effort to avoid contested

 7   motions practice and reach an agreement that might be acceptable to all parties, the United
 8
     States contacted Plaintiffs on September 9, 2022, seeking Plaintiffs’ position on Rule 35
 9
     examinations with the same parameters as in R.Y.M.R., discussed above. Plaintiffs advised
10
11   that they needed additional information before they could evaluate the government’s

12   proposal. The parties conferred by telephone regarding these issues on September 15,
13
     2022. Subsequently, however, on September 20, 2022, Plaintiffs advised the United States
14
     that they did not believe that good cause existed for any Rule 35 examinations and
15
16   therefore that they would not be engaging further in any negotiations regarding parameters

17   of examinations until they are in receipt of the government’s motion to compel Rule 35
18
     examinations.
19
            The government respectfully submits that, in the event that the Court grants
20
21   Defendant’s motion to compel the Adult Plaintiffs to submit to Rule 35 examinations, a

22   60-day extension is necessary in order to allow Dr. Winkel to schedule and complete the
23
     examinations of the Adult Plaintiffs and prepare his reports.5 As noted above, should the
24
     Court order Rule 35 examinations of the Adult Plaintiffs, the United States will endeavor
25
26
27   5
      There are six Adult Plaintiffs to this action; however, Defendant is also moving for Rule
     35 examinations of the five Adult Plaintiffs in C.M., et al. v. United States, No. CV-19-
28   05217-PHX-SRB, which would also be conducted by Dr. Winkel.
                                                   15
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 1   to conduct those examinations in areas geographically convenient to the Plaintiffs, which

 2   will require Dr. Winkel to travel to multiple locations throughout the country and to obtain
 3
     temporary licenses in multiple states. The United States is still considering whether to
 4
     proceed with seeking contested examinations of the Minor Plaintiffs, in light of the
 5
 6   Plaintiffs’ objections, and so the 60-day extension would allow time for further

 7   discussions that could avert the need for judicial intervention.
 8
            In addition, good cause also exists to extend Defendant’s expert disclosures
 9
     deadline by 30 days, even if the government’s examination motion is denied, for two
10
11   reasons. First, Defendant’s experts require additional time to analyze expert disclosure

12   material that Plaintiffs only recently provided to the government and to incorporate
13
     analyses of this newly produced material in their opinions as appropriate. On August 29,
14
     2022, two business days after receiving Plaintiffs’ expert disclosures on August 25, the
15
16   government requested that Plaintiffs provide all underlying facts and data considered by

17   Plaintiffs’ experts in forming their opinions—material that a party is required to produce
18
     as part of its Rule 26(a)(2)(B) disclosures. See Fed. R. Civ. P. 26(a)(2)(B)(ii). By way of
19
     example, the government noted that Plaintiffs’ expert reports reference questionnaires
20
21   and/or screening tests that the experts administered during their initial and supplemental

22   mental health evaluations of the 12 Plaintiffs and from which the experts derived scores
23
     that informed their opinions.
24
            Such material is encompassed by Fed. R. Civ. P. 26(a)(2)(B)(ii), see Starkey v.
25
26   McHugh, No. 14-cv-02525-PSG, 2015 U.S. Dist. LEXIS 144464, **4-5 (N.D. Cal. Oct.

27   23, 2015), and therefore Plaintiffs were required to provide it on August 25, 2022, as part
28
                                                  16
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 1   of their “full and complete expert disclosures.” See Amended Case Management Order,

 2   dated March 1, 2022, at p. 4 (ECF No. 144). Following the government’s request,
 3
     Plaintiffs agreed to provide this underlying testing data, but Plaintiffs provided it to the
 4
     government only on September 15, 2022—eight days before the government’s expert
 5
 6   disclosures deadline. As a result, Defendant’s experts have had insufficient time to fully

 7   analyze this data and consider it in forming their opinions, thus providing further good
 8
     cause to extend Defendant’s expert disclosures deadline.
 9
            Second, if the Court denies the motion for Rule 35 examinations, Defendants’
10
11   experts will need additional time to complete their reports in light of the fact that that they

12   will not have access to the Plaintiffs in forming their opinions.
13
            If the Court grants the requested extension, Defendant submits there is good cause
14
     to extend the remaining expert discovery deadlines accordingly, in order to allow adequate
15
16   time following the exchange of Defendants’ expert disclosures for rebuttal reports and to

17   conduct expert depositions.
18
            The United States respectfully submits that these extensions need not delay final
19
     resolution of the case. The government does not seek to extend all dispositive motion
20
21   briefing deadlines. Accordingly, the extension sought here would not prevent the filing of

22   dispositive motions on the schedule previously entered by the Court, and so would not
23
     delay the eventual resolution of this matter.
24
            For these reasons, Defendant respectfully requests that the Court enter an order
25
26   extending the deadline for Defendant’s expert disclosures to 60 days after this court

27   decides this motion, and to similarly extend the remaining expert disclosure deadlines. If
28
                                                     17
        Case 2:20-cv-00065-SRB Document 290 Filed 09/22/22 Page 18 of 18




 1   the Court denies the government’s motion for Rule 35 examinations, Defendant

 2   respectfully requests that the Court enter an order extending the deadline for Defendant’s
 3
     expert disclosures to 30 days after this court decides this motion.
 4
                                           CONCLUSION
 5
 6          The United States has demonstrated that each Adult Plaintiff’s psychological

 7   condition is in controversy and that good cause exists to permit Rule 35 examinations of the
 8
     Adult Plaintiffs by Dr. Winkel. The United States has further demonstrated that good cause
 9
     exists to extend its deadline to serve its expert disclosures under Rule 26(a)(2)(A)-(C), and
10
11   to similarly extend the remaining expert disclosure deadlines accordingly. Thus, the Court

12   should grant this motion in full.
13
14   Submitted this 22nd day of September, 2022.

15
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